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             UNITED STATES COURT OF INTERNATIONAL TRADE
            BEFORE: THE HONORABLE MARK A. BARNETT, JUDGE
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                                           )
PRIMESOURCE BUILDING PRODUCTS,             )
INC.,                                      )
                                           )
                  Plaintiff, and           )
                                           )
CHENG CH INTERNATIONAL CO., LTD.,          )
CHINA STAPLE ENTERPRISE                    )
CORPORATION, DE FASTENERS INC.,            )
HOYI PLUS CO., LTD., LIANG CHYUAN          )
INDUSTRIAL CO., LTD.,                      )
TRIM INTERNATIONAL INC.,                   )
UJL INDUSTRIES CO., LTD.,                  )
YU CHI HARDWARE CO., LTD., and             )
ZON MON CO., LTD.,                         ) Consol. Court No. 20-03911
                                           )
                  Consolidated Plaintiffs, )
                                           )
            v.                             )
                                           )
UNITED STATES,                             )
                                           )
                  Defendant, and           )
                                           )
MID-CONTINENT STEEL & WIRE INC.,           )
                                           )
                  Defendant-Intervenor.    )
__________________________________________)

                                    NOTICE OF APPEAL

       Notice is hereby given that Consolidated Plaintiffs Cheng Ch International Co., Ltd.,

China Staple Enterprise Corporation, De Fasteners Inc., Hoyi Plus Co., Ltd., Liang Chyuan

Industrial Co., Ltd., Trim International Inc., UJL Industries Co., Ltd., Yu Chi Hardware Co.,

Ltd., and Zon Mon Co., Ltd. (collectively, “Consolidated Plaintiffs”) in the above-named case

hereby appeal to the United States Court of Appeals for the Federal Circuit from Slip Op. 22-73

and the judgment entered in this action on June 16, 2022.




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                                              Respectfully submitted,

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Dated: August 12, 2022




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